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                       EXHIBIT C
Case:
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                              )
                                               )       JUDGE POLSTER
THIS DOCUMENT RELATES TO:                      )
                                               )
All Cases                                      )
                                               )       MINUTES AND ORDER REGARDING
                                               )       PBM BELLWETHER PROCESS


       On this date, the Court conducted an on-the-record video status conference with the PEC and

the PBM Defendants (OptumRx and Express Scripts). The Court had earlier directed these parties

to meet and confer and attempt to reach agreement on a process for selecting bellwether cases. The

parties’ efforts were unsuccessful. Accordingly, the Court now orders the parties to proceed as

follows.

September 22, 2023, 4:00p EST – The PEC and the PBM Defendants shall each file a separate

document listing their four picks of potential PBM bellwether cases. The parties will pick cases

that: (1) are already filed in the MDL; and (2) already name one or both of the PBM Defendants.

Further, the four cases picked must have plaintiffs from four different federal circuits.

October 6, 2023, 4:00p EST – The PEC and the PBM Defendants shall each file a document listing

two strikes of the other side’s four picked cases. This will leave four bellwether cases – two plaintiff

picks and two defendant picks.1

       Up to this point, none of the resulting four bellwether cases have been litigated – they have

been stayed, and their being picked will occur “before discovery ever started.” In re: Nat’l


       1
          It is possible plaintiffs and defendants will pick some of the same cases. The Court will
address this eventuality when and if it occurs.
Case:
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Prescription Opiate Litig., Case No. 21-4051, slip op. at 2 (6th Cir. Nov. 14, 2022) (MDL docket no.

4747). Accordingly, the Court indicated that the plaintiffs in those four cases will be allowed to file

amended complaints, as previously approved by the Sixth Circuit.2 The PBM Defendants opposed

any amendment of complaints. The Court ruled the PBM defendants can file objections in the four

bellwether cases after the amended complaints are filed.

       Finally, the PBM Defendants suggested they might move for recusal of Special Master

Cohen, and asked the Court to preclude him from working on PBM cases. The Court denies this

request. See In re Nat'l Prescription Opiate Litig., 2019 WL 7482137, at *1 (6th Cir. Oct. 10, 2019)

(denying petition by 16 defendants for a writ of mandamus seeking to compel recusal of the

undersigned for making “public comments” that defendants believed showed he “prejudged

liability” and “believed that settlement was the best option”).

               IT IS SO ORDERED.

                                                       /s/ Dan Aaron Polster
                                                       DAN AARON POLSTER
                                                       UNITED STATES DISTRICT JUDGE
Dated: August 31, 2023




       2
          See id. at 2 (“When this [Opioid MDL] case was selected as a bellwether, the plaintiffs
exercised their right to amend and added Meijer as a defendant. Because [this] district court’s
scheduling order permitted such amendment from the outset, plaintiffs did not need the district
court’s leave to amend.”) (emphasis added). See also id. at 3 (“[This MDL Court’s] scheduling
order allowed plaintiffs to amend whenever their case was selected as a bellwether, so there was no
cutoff date for amendments. That unusual aspect of the scheduling order did not clearly violate Rule
16 because it provided some limit (when a case was selected as a bellwether), although the order
went right to the edge of the district court’s discretion under Rule 16.”).
        This Court also indicated it will later set specific deadlines for amendment of complaints,
responsive pleadings, motions to dismiss, and so on, with input from the parties, once the
bellwethers are chosen.

                                                  2
